                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA,                                       )
                                                                )
v.                                                              )       Case No. 3:11-cr-00082
                                                                )       Judge Trauger
[1] TRAVIS GENTRY                                               )
[2] BETTY GENTRY                                                )
[7] PATRICK DEWAYNE SMITH                                       )
                                                                )

                                          MEMORANDUM

          Defendant Betty Gentry has filed a Motion to Suppress Title III Wiretap Search Warrants

(Docket Nos. 846, 862) with a supporting Memorandum (Docket No. 863), in which co-

defendants Travis Gentry and Patrick Dewayne Smith have joined (Docket Nos.848, 854-56).1

The government has filed a Response in opposition. (Docket No. 904). On July 9, 2012, the

court held a hearing concerning the motion. For the reasons stated herein, the motion will be

denied.

                                           BACKGROUND

          In the fall of 2005, federal and local authorities began investigating a drug trafficking

organization (“the Gentry DTO”) that was believed to be operating within the Middle District of

Tennessee.2 In May 2010, the United States sought and obtained a wiretap for a phone utilized

by defendant Travis Gentry. The United States subsequently sought and obtained additional




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       Defendant Channin Randolph originally joined the motion, as well (Docket Nos. 865-
66). However, he later entered a plea petition, which the court accepted. (Docket No. 899.)
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       Although the government’s investigation began in the fall of 2005, it appears that there
may have been a period of investigative inactivity between early 2006 and the fall of 2009.

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wiretaps for other phones utilized by defendants Travis Gentry and Kejuana Latrese

McCutcheon. The government intends to use evidence derived from those wiretaps at trial

against four defendants, including Travis Gentry, Betty Gentry, and Patrick Dewayne Smith

(“defendants”).3 The defendants now move to suppress that evidence, contending that the

affidavits submitted in support of the applications for each wiretap did not establish sufficient

necessity or probable cause.4

       The government obtained the wiretaps at issue through eight successive applications

(hereinafter “First Application,” “Second Application,” etc.), each of which was approved by the

Chief Judge of this court (“Issuing Judge”) in a separate, sealed matter (Crim. No. 3:10-SM-

0078 (TJC), hereinafter “SM Docket No. [X]”). The Issuing Judge authorized wiretaps for the

following telephones:

       •       Target Telephone 1 (“TT1") (authorization granted May 24, 2010), a cell
               phone used by Travis Gentry. (SM Docket Nos. 1 (“First Application”)
               and 2 (Order granting First Application).)5




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         The defendants are each charged in the Second Superseding Indictment with multiple
criminal offenses, including, inter alia, two or more of the following offenses: conspiracy to
distribute and possess with intent to distribute controlled substances, conspiracy to commit
money laundering, possession of firearms in furtherance of a drug conspiracy, possession of
cocaine, possession with intent distribute cocaine, using or maintaining a place to manufacture
and distribute controlled substances, making a place available to manufacture, store, and
distribute controlled substances, and being a felon in possession of a firearm. (Docket No. 910,
Attachments 1, 2, and 7.)
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         Originally, Betty Gentry also asserted that, after obtaining the wiretaps, law enforcement
officials failed to adequately minimize their interception of communications on the wiretapped
phones. Following the court’s hearing concerning the Motion to Suppress, Betty Gentry struck
this argument from her motion. (Docket No. 931.)
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       The government sought and obtained a renewal of the TT1 wiretap in its Third
Application. (SM Docket Nos. 13-14.)

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       •       Target Telephone 2 (“TT2") (authorization granted July 8, 2010), a cell
               phone used by Travis Gentry. (SM Docket Nos. 7 (“Second Application”)
               and 8 (Order granting Second Application).)

       •       Target Telephone 3 (“TT3") (authorization granted August 12, 2010), a
               cell phone used by Travis Gentry. (SM Docket Nos. 13 (“Third
               Application”) and 14 (Order granting Third Application).)6

       •       Target Telephone 4 (“TT4") (authorization granted October 8, 2010), a
               cell phone used by Kejuana McCutcheon. (SM Docket Nos. 19 (“Fourth
               Application” and 20 (Order granting Fourth Application).)7

       •       Target Telephone 5 (“TT5") (authorization granted on December 13,
               2010), a cell phone used by Kejuana McCutcheon. (SM Docket Nos. 27
               (“Fifth Application”) and 28 (Order granting Fifth Application).)8

       •       Target Telephone 6 (“TT6") (authorization granted on January 11, 2011),
               a cell phone used by Travis Gentry. (SM Docket Nos. 36 (“Sixth
               Application” and 37 (Order granting Sixth Application).)

In support of each wiretap application, the government attached both an authorization letter from

the Department of Justice (“DOJ”) and an affidavit executed by James Goodman, a Task Force

Officer (“TFO”) assigned to the Nashville District Office of the Drug Enforcement

Administration (“DEA”). The court has reviewed the wiretap applications and supporting

materials, comprising several hundred pages of information. Because of their length, the court

will only discuss the most relevant facts here.

                                           ANALYSIS

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        The government sought and obtained a renewal of the TT3 wiretap in its Fourth, Fifth,
Seventh, and Eighth Applications. (SM Docket Nos. 19-20, 27-28, 39 (“Seventh Application”)
and 40 (Order granting Seventh Application), and 59 (“Eighth Application”) and 60 (Order
granting Eighth Application).)
       7
       The government sought and obtained a renewal of the TT4 wiretap in its Fifth, Seventh,
and Eighth Applications. (SM Docket Nos. 27-28, 39-40, and 59-60.)
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        The government sought and obtained a renewal of the TT5 wiretap in its Seventh and
Eighth Applications. (SM Docket Nos. 39-40 and 59-60.)

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       The defendants contend that all evidence obtained by law enforcement as a result of the

aforementioned wiretap authorizations should be suppressed on three grounds: (1) the affidavits

from TFO Goodman filed in support of each application failed to demonstrate the requisite

necessity for the requested wiretaps; (2) the affidavits from TFO Goodman filed in support of

each application failed to establish probable cause for each wiretap; and (3) law enforcement

officials failed to minimize adequately the interception of communications over the target

telephones.

I.     Necessity and Probable Cause.

       A.      Legal Standard

       In analyzing whether the government met the necessity and probable cause requirements

under Title III, the court must accord “great deference” to the determination of the issuing judge.

United States v. Corrado, 227 F.3d 528, 539-40 (6th Cir. 2000) (applying standard to necessity

analysis); United States v. Alfano, 838 F.2d 158, 162 (6th Cir. 1988) (applying standard to

probable cause analysis). Thus, “the fact that a later trial judge or reviewing court may feel that

a different conclusion was appropriate does not require, nor even authorize, the suppression of

evidence gained through such a warrant.” Corrado, 227 F.3d at 539 (quoting Alfano, 838 F.3d at

162). Accordingly, “neither a trial judge not an appellate court may exclude evidence gathered

under a lawfully issued warrant solely on the basis that those judges would not have issued the

warrant had they been in the magistrate’s place.” Alfano, 838 F.2d at 163.

       In analyzing an affidavit in support of a search warrant, “the courts should review the

sufficiency of the affidavit in a commonsense, rather than hypertechnical manner.” United

States v. Greene, 250 F.3d 471, 479 (6th Cir. 2001). Thus, the court should not consider


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paragraphs of the affidavit in isolation, but instead should analyze whether the facts presented in

the affidavit, read as a whole, provide the requisite basis for the issuing judge’s decision. United

States v. Landmesser, 553 F.2d 17, 19-21 (6th Cir. 1977), cert denied, 434 U.S. 855, 98 S. Ct.

174, 54 L. Ed. 2d 126 (1977)..

       B.      Supporting Affidavits

       Each application seeking authorization to intercept the wire communications of

individuals believed to be members of the Gentry DTO (“the target subjects”) is supported by an

affidavit executed by TFO Goodman. In turn, each affidavit discusses, among other things, the

following subjects: (1) TFO Goodman’s experience and background; (2) the identities of the

target subjects; (3) the offenses that the target subjects allegedly had committed, were

committing, or would commit (either directly or by aiding and abetting); (4) the background of

the confidential sources utilized in the investigation of the Gentry DTO; (5) the background of

the investigation; (6) the facts that TFO Goodman believed established probable cause for the

wiretap, including information obtained from multiple confidential sources, controlled narcotics

transactions, monitored and/or consensually recorded telephone conversations involving target

subjects, telephone toll analysis, physical and remote surveillance, and, in many of the affidavits,

excerpts of intercepted telephone conversations over particular target telephones; (7) the need for

intercepting wire communications; (8) the results of employing alternative investigative

techniques; (9) the reasons why certain investigative techniques were not employed; and (10)

minimization. In support of their Motion to Suppress, the defendants focus most of their

arguments on the content contained in the affidavit executed by TFO Goodman in support of the

government’s First Application (“First Affidavit”). Accordingly, the court will summarize in


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detail the contents of the First Affidavit. Additionally, where relevant, the court will address

additional information contained in the subsequent affidavits (hereinafter, “Second Affidavit,”

“Third Affidavit,” etc.).

               1.      First Affidavit

                       a.      Affiant’s Experience and Involvement in the Gentry DTO
                               Investigation

       In the First Affidavit, TFO Goodman explains that the target subjects under investigation

are believed to be members of the Gentry DTO, a drug trafficking organization operating within

this judicial district that engages in the distribution of cocaine and marijuana. (First Affidavit ¶

14.) TFO Goodman had worked as a police officer for the Metropolitan Nashville Police

Department (“MNPD”) for twenty-eight years, after which, as of the date of the First Affidavit,

he had served for four years as a TFO for the Nashville District Office of the DEA. (Id. ¶ 2.)9

TFO Goodman had participated in several long-term, complex investigations involving drug

trafficking in cocaine, cocaine base, marijuana, heroin, and money laundering offenses. (Id.)

From his experience, he understood the methods individuals and drug trafficking organizations

use to purchase, transport, store, and distribute illegal drugs and their proceeds. (Id.) In the

course of his investigations, he had utilized a number of investigative techniques, including, but

not limited to, cooperating sources, source debriefings, physical surveillance, telephone toll




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       In addition, for ten of the twenty-eight years that he was employed by the MNPD,
Goodman was assigned to serve as a TFO for the Nashville District Office of the DEA (id.),
apparently in a collaborative effort between federal and local law enforcement.

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analysis, and electronic surveillance. (Id.) TFO Goodman’s personal participation in the

investigation began in the fall of 2009.10 (Id. ¶ 3.)

                       b.      Target Offenses and Goals of the Investigation

       The First Affidavit provided that “there is probable cause to believe that the Target

Subjects have committed, are committing, and will continue to commit the following offenses:”

(1) distribution and possession with intent to distribute controlled substances, including cocaine

and marijuana; (2) the unlawful use of communication facilities in committing or facilitating the

commission of a Title 21 felony offense; (3) conspiracy to distribute controlled substances,

including cocaine and marijuana; and (4) money laundering and conspiracy to commit money

laundering. (First Affidavit ¶ 5.) It also stated the goals of the investigation, which, in essence,

included: (1) determining the nature, scope, and methods of operation of the drug trafficking

activities of the Gentry DTO; and (2) identifying all of the members of the Gentry DTO and any

associated conspirators. (See id. ¶ 35.)

                       c.      The Two Confidential Sources

       In the course of its investigation, the government utilized two confidential sources to

gather information (hereinafter “CS-1” and “CS-2”).11 (First Affidavit ¶¶ 10-12.) CS-1 began



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          Between August 2005 and early 2006 – prior to TFO Goodman’s involvement in the
investigation – unspecified law enforcement officers attempted to set up controlled purchases of
cocaine from Travis Gentry and certain suspected associates. (First Affidavit ¶¶ 14-15.) The
affidavits do not discuss any investigation actions between early 2006 and fall 2009, when TFO
Goodman first began participating in the investigation.
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         The affidavits do not identify the gender of CS-1 or CS-2. Instead, “to further protect
the identity of the confidential sources, references to the confidential sources, whether they are
male or female, [are] referred to by the masculine pronoun.” (See First Affidavit at p. 6 n.3.)
For purposes of this Memorandum, the court will similarly refer to the CS-1 and CS-2 using
masculine pronouns.

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working for the government in 2009 in exchange for consideration on a potential criminal

charge. (Id. ¶ 11.) Due to his successful cooperation with law enforcement officers, CS-1 was

never charged with the potential criminal offense. (Id.) CS-1 had personally met Travis Gentry

while working at a gym and had obtained drugs from Gentry in the past for personal use. (Id.)

During the course of his cooperation with investigators, CS-1 made two controlled purchases of

cocaine from Travis Gentry. (Id.) In the First Affidavit, TFO Goodman avers that “CS-1 is

deemed to be reliable and has provided information to law enforcement which has been

corroborated whenever possible through record checks, physical surveillance, and/or other

sources of information.” (Id.) CS-2, who had participated in and/or assisted with Travis

Gentry’s drug trafficking activities in the past, cooperated with investigators beginning in

December 2009. (Id.¶ 12.) In the First Affidavit, TFO Goodman similarly attests to CS-2's

reliability and states that information provided by CS-2 was “corroborated whenever possible

through record checks, physical surveillance and/or other sources of information.” (Id.) In

addition to the section of the First Affidavit specific to CS-1 and CS-2, and as described in more

detail herein, the affidavit contains various other references to specific ways in which CS-1 and

CS-2 assisted in the investigation and instances in which the government verified the reliability

of information they had provided.

                       d.      Facts Alleged to Establish Probable Cause

       In the First Affidavit, TFO Goodman argues that events beginning in December 2009

established probable cause for the wiretap. The early stages of the investigation appear to have

been based significantly on information provided by the confidential informants. CS-1 provided

law enforcement officers with information concerning Travis Gentry’s drug trafficking activities



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and made two controlled purchases of cocaine in furtherance of the investigation. For instance,

on December 2, 2009, CS-1 informed local law enforcement officers that he had received a call

from Travis Gentry to set up a meeting, in which Gentry intended to deliver a sample of cocaine

to him. (First Affidavit ¶ 16.) Although this call was not recorded, the government utilized

telephone toll records to verify CS-1's representation that Gentry had made the call. (Id.) Later

that day, Travis Gentry met CS-1 and delivered 5.5 grams of a white powder substance, which

the government subsequently verified to be cocaine. (Id.) An audio recording of the meeting

revealed, among other things, that Travis Gentry inquired into how much CS-1's “guy” was

getting for a pound of marijuana and informed CS-1 that his associates had “bricks,” which,

according to TFO Goodman, was allegedly a reference to kilograms of cocaine. (Id.)

       In the early stages of the investigation, CS-1 also participated in the following two

controlled purchases of cocaine:

       •       First Controlled Purchase: On December 8, 2009, CS-1 met with Travis
               Gentry and was provided with 25 grams of a white powder substance that
               was subsequently confirmed to be cocaine. The First Affidavit explains
               how the calls made by CS-1 to Travis Gentry to make arrangements
               concerning the purchase were consensually recorded by law enforcement
               officers. After receiving official funds to make the purchase as well as a
               recording and audio device, CS-1 met Travis Gentry at the pre-arranged
               meet location to complete the transaction. Surveillance officers observed
               Travis Gentry arrive at the meet location. (Id. ¶¶ 17-19.)

       •       Second Controlled Purchase: On December 18, 2009, CS-1 again met
               with Travis Gentry and was provided with a plastic baggie of white
               powder in exchange for official funds given to CS-1. The white powder
               substance was later confirmed to be cocaine. While the calls arranging
               this transaction were not recorded, they were verified by telephone toll
               records. Surveillance officers observed Travis Gentry arrive at the agreed
               meet location. (Id. ¶¶ 20-22.)




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CS-1 also engaged in at least one tape-recorded telephone call with Travis Gentry related to

Travis Gentry’s distribution of cocaine. (Id. ¶ 23.) CS-2 also provided law enforcement officers

with valuable information concerning drug trafficking activities by Travis Gentry and members

of the Gentry DTO. For instance, CS-2 identified several individuals who: (1) supplied cocaine

and marijuana to Travis Gentry or purchased those drugs from him; (2) distributed and stored

narcotics for Travis Gentry; (3) stored the proceeds of illegal narcotics sales for Travis Gentry;

and (4) otherwise facilitated drug trafficking activities by Travis Gentry and the Gentry DTO.

(Id. ¶¶ 22, 24-29.)

       CS-2 also provided specific information concerning the role of Travis Gentry’s mother,

Betty Gentry, in the drug trafficking activities of the Gentry DTO. For example, CS-2 informed

law enforcement officers that Travis Gentry usually cooked powder cocaine into crack cocaine at

the residence of Betty Gentry, with Betty Gentry’s knowledge. (Id. ¶ 24.) According to CS-2,

Betty Gentry assisted her son in the distribution of cocaine and allowed him to store drug

trafficking paraphernalia, weapons, cocaine, and drug proceeds at her residence. (Id.) CS-2 also

alleged that Betty Gentry (as well as other Gentry family members) was present while cocaine

shipments were opened and/or while the bricks of cocaine were broken down into smaller

packages. (Id. ¶ 25.)

       CS-2 also informed law enforcement officers that he had distributed cocaine for Travis

Gentry and had personally met “G,” Travis Gentry’s California-based cocaine supplier. (Id. ¶¶

25, 27.) At Travis Gentry’s request, CS-2 had purchased two pre-paid telephones and provided

one of them to “G” so that G could communicate with Travis Gentry. (Id. ¶ 28.) CS-2 also

provided details concerning the addresses where “G” shipped cocaine, the method by which the



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shipments were made, and the fact that the shipments were sent under fictitious names. (Id. ¶

25.) For instance, CS-2 alleged that an individual named Spencer Randolph allowed Gentry to

use his home as a venue for meetings, to receive drug shipments from California, to ship

packages, and to distribute cocaine. (Id. ¶¶ 25-26.) TFO Goodman later independently verified

with the United States Postal Service (“USPS”) that Spencer Randolph was, in fact, receiving

parcels at his residence that were addressed to fictitious names. (Id. ¶ 26.)

        CS-2 also provided specific information to law enforcement officers concerning locations

where Travis Gentry was storing the proceeds of his illegal narcotics sales. For instance, CS-2

stated that Travis Gentry did not possess a bank account and instead was storing his money at the

home of his half-brother, Frank Randolph.12 (Id. ¶ 22, 27.) A local investigator also informed

TFO Goodman that, based on information he had received from various anonymous sources,

Frank Randolph indeed holds such proceeds at his residence. (Id. ¶ 22.) In addition, following

the second controlled purchase between CS-1 and Travis Gentry, law enforcement officers

followed Travis Gentry from the site of the controlled purchase to Frank Randolph’s residence.

(Id. ¶ 22.)

        CS-2 also provided the following information to law enforcement officers, much of

which tied Travis Gentry and the Gentry DTO to potential criminal activity and/or assisted law

enforcement in its investigation::

        •      At Travis Gentry’s direction, CS-2 had wired $1,000 to an individual in
               California (id. ¶ 27), which CS-2 believed was the state in which Travis
               Gentry’s supplier resided.




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         Local law enforcement officers also believed that Frank Randolph was Travis Gentry’s
half-brother. (First Affidavit ¶ 22.)

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      •     Travis Gentry had paid $20,000 in cash to purchase a white Ford F-150
            truck and later had paid to have a hidden compartment installed under the
            truck’s rear seat. (Id.)

      •     Travis Gentry’s prior telephone number was (916) 687-1065 and the
            telephone number of his parent’s home was (931) 424-6077. (Id. ¶ 28.)
            Investigators independently confirmed that CS-1 had in fact
            communicated with Travis Gentry using both of these telephone numbers.

      •     Frank Randolph maintained a safe in the attic of his home, in which he
            stored money and guns for Travis Gentry. (Id.)

      •     Travis Gentry and “G” often changed telephones. (Id.)

      •     At Travis Gentry’s direction, CS-2 had purchased two pre-paid phones
            and had provided one of the phones to “G.” (Id.)

      •     On February 15, 2010, Travis Gentry provided two contact telephone
            numbers to CS-2. Later that day, Travis Gentry texted CS-2 to inform him
            that “916 is off,” apparently indicating that his previous telephone number
            was no longer operative. (Id. ¶ 28.)

      •     On February 19, 2010, CS-2 received a telephone call from (931) 292-
            3893 (TT1) but did not recognize the number as belonging to Travis
            Gentry. (Id. ¶ 29.) After receiving a second call from TT1, CS-2 had
            answered and learned that the caller was Travis Gentry. (Id.) Travis
            Gentry informed CS-2 to never call him on TT1 because he used that
            phone to communicate with “G.” (Id.) CS-2 informed law enforcement
            officers that he had heard Travis Gentry speak with “G” while using TT1.
            (Id.) For instance, he had overheard Travis Gentry and “G” discussing
            how “G” was involved in a drug lord war and “could not get a ‘pack’ in
            right now,” which, according to TFO Goodman, was a possible reference
            to cross-border violence along the southwest border of the United States
            that made it difficult to move drugs across the border. (Id.)

      •     On March 2, 2010, CS-2 placed a recorded call in the presence of a law
            enforcement officer to Travis Gentry at TT1. (Id. ¶ 30.) During the
            ensuing conversation, CS-2 asked Travis Gentry if he had any marijuana
            and Gentry responded affirmatively. (Id.) Later that day, Travis Gentry
            met with CS-2 and provided the requested marijuana, which they smoked
            together. (Id.) Telephone toll records confirmed that CS-2's telephone
            number was in contact with TT1 17 times that day.




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       •      CS-2 informed law enforcement officers that Travis Gentry had continued
              to contact him using TT1. (Id.) Data obtained from a pen register showed
              that TT1 in fact had been in contact with a telephone used by CS-2
              approximately 392 times between April 14, 2010 and May 11, 2010. (Id.)


       •      On April 1, 2010, CS-2 overheard Travis Gentry speaking to an
              unidentified person over TT1. (Id. ¶ 31.) Following the call, Travis
              Gentry told CS-2 that the unidentified person had a connection in Chicago
              for cocaine and that he (Travis Gentry) planned to send someone to
              Chicago to pick up a kilogram of cocaine. (Id.)

       •      On May 10, 2010, CS-2 overheard Travis Gentry speaking with Frank
              Randolph over TT1, wherein Travis Gentry instructed Randolph to obtain
              $5,000 of his (Travis Gentry’s) money for him to pick up. (Id. ¶ 32.) Pen
              register data for TT1 showed that TT1 was in contact with Frank
              Randolph’s telephone number 5 times on May 10, 2010. (Id.)
              Investigators subsequently established surveillance near Frank Randolph’s
              home and observed Travis Gentry depart Randolph’s residence and travel
              to the home of James Thomas Coffey. (Id.)

       •      Both CS-2 and investigators familiar with the case have believed that
              Travis Gentry had no other source of income outside of selling controlled
              substances. (Id. ¶ 32.)

                     d.      Common Call Analysis

       CS-2 advised law enforcement officers that Travis Gentry began using TT1 on

approximately February 15, 2010. (First Affidavit ¶ 33.) After employing a common call

analysis between Travis Gentry’s prior telephone number and TT1, the government concluded

that Travis Gentry indeed was utilizing TT1 as a replacement for his previous number. (Id.) The

analysis also revealed that three common numbers utilized by individuals alleged to be members

or associates of the Gentry DTO had stopped contacting Travis Gentry’s prior telephone number

on approximately February 14, 2010 and began contacting TT1 on approximately February 15,

2010 (id.) – consistent with CS-2's tip. These three telephone numbers belonged to known or

suspected drug traffickers. (Docket No. 33.) As to the first, Brad Yarbrough, a common call


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analysis confirmed CS-2's tip that the Yarbrough and Travis Gentry were in contact on a daily

basis. (Id. at part (a)). As to the second, Cedric Henderson, CS-2 alleged that he had overheard

conversations between Henderson and Travis Gentry concerning marijuana transactions,

including conversations on TT1, and a common call analysis confirmed frequent contacts

between Henderson and TT1. (Id. at part (b)). As to the third, Spencer Randolph, CS-2 claimed

to have overheard conversations between Travis Gentry and Randolph concerning drug

trafficking and to have seen Randolph’s cell phone number on Travis Gentry’s cell phone. On

two occasions, CS-2 informed law enforcement that Travis Gentry was traveling to Randolph’s

home to pick up controlled substances, and on both of those occasions physical surveillance

confirmed that Travis Gentry in fact visited Randolph’s home.

       The government also analyzed pen register data for TT1 for the period from May 4, 2010

to May 13, 2010. (First Affidavit ¶ 34.) That analysis also confirmed that Travis Gentry was in

frequent contact with individuals believed to be members of the Gentry DTO, including

Yarbrough and another individual, Brandon Matthews. (Id.) CS-2 informed law enforcement

officers that Matthews was involved in drug trafficking activities and, on behalf of Travis

Gentry, held marijuana at his (Matthews’) residence. (Id.) CS-2 stated that, when he could not

locate Travis Gentry for drug shipments, he would contact Matthews to obtain marijuana. (Id.)

In March 2010, Matthews had delivered marijuana to an informant working for local law

enforcement, the charges for which were pending when the First Affidavit was filed. (Id.)

                      e.      Uses of Other Traditional Investigative Techniques

       The government employed a variety of traditional investigative techniques before filing

the First Application. These techniques included the use of physical surveillance, pen registers



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and toll records, multiple confidential sources, consensual recordings of telephone conversations,

controlled drug purchases, tracking devices, pole cameras, and a financial investigation. (See,

e.g., First Affidavit ¶¶ 39-47, 51-52, 56-57, 61-64, and 67.) The First Affidavit explains that,

while many of these techniques provided useful information, they did not allow the government

to meet its investigative goals. (Id. ¶ 36.) Specifically, the First Affidavit highlighted the

following shortcomings of the traditional investigative techniques that had already been utilized

by the government:

       •       Physical Surveillance (Id. ¶¶ 39-44.): According to TFO Goodman,
               physical surveillance was a limited tool in the context of the investigation,
               because many of the pivotal members of the drug conspiracy were
               unidentified, many of the identified residential areas were not conducive
               to undercover surveillance, and, as a general matter, it is difficult for
               investigators to conduct effective surveillance where clandestine meetings
               occur. TFO Goodman also provided specific examples of the limitations
               on the usefulness of the physical surveillance. For example, in multiple
               monitored controlled purchases of cocaine from Travis Gentry by CS-1,
               officers had been unable to observe the actual hand-to-hand exchanges,
               one of which took place inside an office building.

               Furthermore, Travis Gentry engaged in counter-surveillance efforts, such
               as attempting to ascertain law enforcement presence before and after
               completing the second controlled purchase transaction with CS-1. On a
               separate occasion, officers believed that Travis Gentry appeared to have
               noticed the law enforcement presence at a motel parking lot.

               Also, attempts to conduct physical surveillance of Travis Gentry at his
               residence were limited in time and scope and were unlikely to be effective
               for several reasons. The residence was located in a rural area on a one
               lane road with few homes in the vicinity. Also, according to CS-2, Travis
               Gentry’s family and friends were living in the area and notified Travis
               Gentry when they saw suspicious vehicles. Furthermore, Travis Gentry
               engaged in other activities that had frustrated long-term physical
               surveillance efforts, including utilizing different vehicles and, according to
               CS-2, frequently renting hotel rooms in a variety of locations in Tennessee
               and Alabama.




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            In the affidavit, TFO Goodman stated his belief that, without the help of
            wire interceptions, it would be difficult for investigators to link specific
            meetings with specific drug transactions. Furthermore, without wire
            interceptions, a surveillance team would likely have had to place a subject
            on around-the-clock surveillance, which would have increased the chance
            that officers would be detected by the target subjects.

      •     Pen Register and Toll Records (¶¶ 45-47): No information gleaned from
            telephone records, by itself, had allowed agents to identify additional
            Target Subjects or to understand the internal operations of the drug
            trafficking organization. In TFO Goodman’s experience, drug traffickers
            often use multiple telephones and change them frequently in order to
            avoid being detected by law enforcement officers. Furthermore, in an
            effort to avoid detection, drug traffickers also provide no subscriber
            information for a phone, use a fictitious name, or list the name of a
            significant other, family member, or associate as the subscriber. For
            instance, Travis Gentry had provided no subscriber information for TT1;
            only through other investigative techniques, including the use of
            confidential sources, was law enforcement able to determine that Travis
            Gentry was utilizing TT1. Similarly, certain telephone numbers in contact
            with TT1 either contained no subscriber information or were listed under
            likely false names.

      •     Confidential Sources (¶¶ 51-52): Although CS-1 and CS-2 had provided
            valuable information concerning Travis Gentry and members of the
            Gentry DTO, neither source was in a position to provide or obtain the
            information necessary to further the investigation’s goals. CS-1's
            controlled purchases of drugs would not help dismantle the organization,
            while CS-2, by virtue of his relationship with Travis Gentry, could only
            provide after-the-fact information, not real-time intelligence.
            Furthermore, both CS-1 and CS-2 had expressed concerns regarding their
            safety, if their cooperation were to become known.

            In the agent’s experience, the use of additional confidential sources would
            have provided only limited results, because drug traffickers generally
            avoid contact with other traffickers who are arrested or believed to be
            under investigation. In this regard, TFO Goodman cited two unsuccessful
            attempts to employ confidential sources in perform controlled purchases
            with Travis Gentry in 2005 and 2006. In one instance, Gentry refused to
            sell drugs to the confidential source; in the other, he agreed to make a sale,
            but did not arrive at the meet location and never returned the confidential
            source’s subsequent calls.




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               Finally, TFO Goodman stated that law enforcement officers were not
               aware of any source possessing sufficient access to the internal operations
               of the organization who, if utilized, could have furthered the goals of the
               investigation.

       •       Consensual Recordings (¶¶ 56-57): Although both CS-1 and CS-2 had
               engaged in consensually recorded telephone conversations with Travis
               Gentry, the recordings were of limited value when viewed in the context
               of the entire investigation. Specifically, CS-1 possessed limited
               knowledge of Travis Gentry’s criminal activities and did not know or have
               access to other individuals in the drug trafficking organization. Moreover,
               CS-2 was employed by Travis Gentry to perform smaller tasks within the
               organization and, therefore, was not necessarily privy to all information
               concerning the upper echelon members of the organization. The First
               Affidavit further represented that the consensually recorded and/or
               monitored telephone calls were limited to discussions with Travis Gentry
               concerning upcoming drug purchases and/or transfers.13

       •       Tracking Devices (¶¶ 61-62): TFO Goodman states that the use of
               tracking devices on vehicles utilized by Travis Gentry and members of the
               Gentry DTO posed a risk of exposing the investigation, because there was
               evidence that members of the Gentry DTO had installed a trap in which to
               conceal controlled substances and/or the proceeds of illegal narcotics

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          This representation appears to be inconsistent with the representation that CS-2 was
limited to providing only after-the-fact information (see Goodman Affidavit ¶ 51). Indeed, in
some instances, CS-2 did provide information that was actionable in real time. (See, e.g., id. ¶
30 (discussing consensually recorded phone call between CS-2 and Travis Gentry)). However,
in other instances, it appears that CS-2 was limited to providing after-the-fact information. (See,
e.g., ¶ 32 (describing police corroboration of CS-2 tip after the fact)). Regardless, the fact that
CS-2 prospectively was able to provide some useful information did not preclude the government
from demonstrating the limitations on CS-2's ability to provide information concerning the
nature, scope, and participants in the Gentry DTO’s allegedly complex drug trafficking
activities, sufficient to establish necessity. See United States v. Wolcott, No. 11-5693, 2012 WL
2086944, at *3-*4 (6th Cir. June 8, 2012) (not submitted for publication) (finding that, even
where “[c]ontinued reliance on CS-12 might have led the government to more of the big-picture
information it sought, . . . the government also offers persuasive reasons why such an approach
would have been inadequate,” in part due to the limited role of the confidential informant in the
alleged criminal operation under investigation). For example, as in Wolcott, the Goodman
Affidavit represented that, because of CS-2's position within the Gentry DTO and inability to
further infiltrate it, CS-2 was limited in his ability to provide information concerning the nature
and scope of the Gentry DTO. At any rate, even accepting the fact that CS-2 was able to provide
some actionable information, the government plainly made the requisite showing of necessity for
the reasons discussed herein.

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              sales.14 While agents had tried to use a tracking device on one of Travis
              Gentry’s vehicles, the device had often failed to provide a tracking signal,
              due to the remote location of Travis Gentry’s residence.

       •      Pole Cameras (¶¶ 63-64): Video surveillance through the use of pole
              cameras had been of limited evidentiary value, because Travis Gentry and
              members of the Gentry DTO performed their activities inside their homes
              or in other clandestine locations. Although agents had set up a video
              camera pointed in the direction of Spencer Randolph’s residence, it had
              failed to provide the desired evidence.

       •      Financial Investigation (¶ 67): Although law enforcement officers
              initiated a financial investigation of Travis Gentry and the members of the
              Gentry DTO, TFO Goodman did not believe that such an investigation
              would dismantle the organization, because the investigation had revealed
              that Travis Gentry did not possess a bank account and generally used only
              cash in his daily transactions. As of the date of the First Affidavit, the
              financial investigation had not provided investigators with any new
              criminal leads that could be used to dismantle the entire organization.

                      f.      Why Other Investigative Techniques Were Not Utilized

       The First Affidavit also states that various other investigative measures were

considered but not attempted, for the following reasons:

       •      Grand Jury Subpoenas: Based on TFO Goodman’s experience, the use of
              grand jury subpoenas would not have been effective at that stage in the
              investigation. He notes that, because investigators have not identified all
              of the drug trafficking organization’s members, agents lacked the ability to
              serve subpoenas on every member. Regardless, co-conspirators would
              most likely be uncooperative and/or invoke their Fifth Amendment
              privilege not to testify. Furthermore, granting immunity would have been
              unwise because it could have foreclosed prosecution of the conspiracy’s
              most culpable members. Serving grand jury subpoenas would also have
              alerted other members of the drug trafficking organization to the
              investigation’s existence, causing them to potentially flee the jurisdiction,
              inform others, threaten the confidential sources, or otherwise compromise
              the pending investigation. TFO Goodman was unaware of any capable or

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         Although not stated within the Goodman Affidavit, the court presumes that the “trap”
was located in an area of the car in or close to where a tracking device would be installed,
creating a risk that, in accessing the trap, Travis Gentry or another member of the Gentry DTO
might spot the tracking device.

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            willing non-target witness to provide grand jury testimony concerning the
            activities of the Gentry DTO who was high enough in the organizational
            hierarchy to identify all of its members and reveal its internal operations.

      •     Undercover Agents: Based on TFO Goodman’s experience, drug
            traffickers are inherently suspicious of individuals whom they do not
            know. This especially is true for those members placed at higher levels of
            the organizational hierarchy. With respect to the investigation, the Gentry
            DTO consisted of a group of close-knit members, some of whom were
            family members. Even if an undercover agent were successfully
            introduced into the organization, there was no evidence suggesting that
            such an individual would have been able to infiltrate the organization to
            any greater extent than the two confidential sources already in place.

      •     Interview of Witnesses or Subjects/Arrest Warrants: According to TFO
            Goodman, the most knowledgeable subjects were also participants in the
            crimes that are under investigation, would be unlikely to cooperate, and
            may have alerted other members in the organization, thus compromising
            the investigation. For similar reasons, seeking arrest warrants would have
            been premature.

      •     Search Warrants: Based on his experience, TFO Goodman believed that
            use of search warrants was unlikely to generate sufficient evidence to
            determine the full nature and scope of the criminal conspiracy, the identity
            of its participants, or its internal operations. The execution of search
            warrants would have alerted target subjects to the existence of this
            investigation, causing them to curtail or conceal their activities and
            bringing the investigation to a premature conclusion. Although law
            enforcement officers had identified the residences of several members
            involved in the drug trafficking organization and several stash locations,
            they had yet to identify the residences of all members of the Gentry DTO,
            all locations where drugs or drug proceeds were received, processed,
            packaged or stored, and all locations where drugs or drug proceeds were
            stored by the sources of supply. According to TFO Goodman, it would be
            more productive to execute search warrants at the end of the investigation,
            after all of the aforementioned locations had been identified and the goals
            of the investigation had been substantially achieved. Furthermore, even if
            agents attempted to execute search warrants, any records not already
            destroyed by Travis Gentry would have been difficult to interpret, since
            records related to drug trafficking activities are often written in code.
            Thus, such records would have possessed little significance to the
            investigation without additional knowledge of their relationship to the
            organization’s drug trafficking activities.



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       •       Trash Searches: While law enforcement officers had identified the
               residences of several members of the Gentry DTO, they had not employed
               trash searches at those locations out of fear of potential detection. TFO
               Goodman stated that, even if such searches were conducted, they would
               likely have provided only limited information regarding the organization’s
               criminal activities, because it was not likely that either Travis Gentry or
               other members of the Gentry DTO would discard incriminating materials
               in their trash containers. In his experience, drug traffickers take pains to
               destroy potentially incriminating evidence and rarely use their trash
               receptacles to discard valuable information concerning their activities.

               2.     Subsequent Affidavits

       Subsequent affidavits executed by TFO Goodman in support of the successive wiretap

applications added additional targets to the investigation (including defendant Smith in the

Second Application) and, in most respects, proceeded in the same format as the First Affidavit.

They also asserted additional facts believed to establish probable cause, including information

gleaned from, inter alia, intercepted conversations, confidential informants, and physical and

remote surveillance, including the following evidence:

       •       Physical Surveillance: Third Affidavit (description of physical surveillance at
               Spencer Randolph’s house, where investigators partially confirmed CS-2's tip, but
               were unable to observe any potential drug exchanges); Fourth Affidavit
               (describing physical surveillance efforts at McCutcheon’s residence, which were
               limited because McCutcheon is paranoid and lives in a dense residential
               subdivision); Fifth Affidavit (relating that investigators confirmed through
               intercepted calls on TT4 that McCutcheon was aware of and concerned about
               unknown vehicles parked near her residence); Sixth Affidavit (describing how
               investigators overheard McCutcheon on TT4 discussing detection of law
               enforcement presence at site of potential cocaine transaction); Seventh Affidavit
               (stating that, during an intercepted call on TT4, McCutcheon indicated that
               someone had told Spencer Randolph about law enforcement surveillance at
               Randolph’s residence); Eight Affidavit (stating that, despite surveillance, law
               enforcement was unable to uncover the identity of “G” at an arranged meeting
               place).

       •       Pen Register and Toll Records: Third Affidavit (noting that, because
               Travis Gentry changed cell phones so frequently, it was difficult for
               investigators to obtain subscriber and toll record information to timely


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            prepare wiretap affidavits); Fourth Affidavit (stating examples of phones
            operated by suspected Gentry DTO numbers under false names); Fifth
            Affidavit (same); Sixth Affidavit (same).

      •     Confidential Sources: Fourth Affidavit (stating that CS-1 could not
            provide any information about McCutcheon and that CS-2 lacked the
            ability to obtain drugs from McCutcheon, and that CS-2 could only
            provide information immediately prior to an event, thereby frustrating
            efforts to set up effective physical surveillance); Fifth Affidavit (noting
            that CS-2 had temporarily stopped cooperating due to a jail sentence);
            Sixth Affidavit (stating that, although CS-2 had resumed cooperating, CS-
            2 was unable to deal directly with “G” or those supplying him); Seventh
            Affidavit (noting that CS-2's position within the Gentry DTO had not
            improved).

      •     Undercover Agents: Fourth Affidavit (stating that affiant was not aware of
            any person who could successfully introduce an undercover agent to
            McCutcheon).

      •     Consensual Recordings: Fourth Affidavit (stating that CS-1 had no
            knowledge of McCutcheon’s criminal activities and could not contact her
            or her associates directly).

      •     Interview of Witnesses or Subjects/Arrest Warrants: Third Affidavit
            (stating that two arrested target subjects had expressed no willingness to
            assist the investigation); Sixth Affidavit (after arrest of another target
            subject, subject expressed willingness to cooperate, but was deemed
            unreliable by investigators when, following his release, he contacted
            McCutcheon for more drugs); Seventh Affidavit (stating that another
            arrested target subject had not expressed any willingness to assist the
            investigation); Eighth Affidavit (after his arrest, Travis Gentry refused to
            cooperate with law enforcement officers).

      •     Tracking Devices: Fourth Affidavit (stating that investigators had not been
            presented with opportunity to install tracking device on McCutcheon’s
            vehicle); Seventh Affidavit (stating that investigators had installed
            tracking device on Channing Randolph’s vehicle, but device had not led to
            significant intelligence or law enforcement action).

      •     Pole Cameras: Third Affidavit (stating that Travis and members of Gentry
            DTO conducted activities inside vehicles, outside view of pole camera,
            and after dark, and that pole camera outside Spencer Randolph’s residence
            had failed to produce desired evidence, such as identities and/or roles of
            conspirators); Fourth Affidavit (noting McCutcheon had conducted her


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               activities in clandestine locations and often after dark); Seventh Affidavit
               (stating that, despite identifying drug-related meetings at Spencer
               Randolph’s residence through wiretap, investigators were unable to
               corroborate meeting participants utilizing pole camera).

       •       Trash Searches: Fifth Affidavit (stating that Gentry DTO members
               detected (unspecified) law enforcement surveillance near McCutcheon’s
               home, underscoring risks of performing trash search); Seventh Affidavit
               (stating that trash search at Channing Randolph’s residence had been
               conducted, but that search had yielded no incriminating evidence).

       C.      Necessity

       Title III requires that an application for a wiretap order contain a “full and complete

statement as to whether or not other investigative procedures have been tried and failed or why

they reasonably appear to be unlikely to succeed if tried or to be too dangerous.” United States

v. Stewart, 306 F.3d 295, 304 (6th Cir. 2002) (quoting 18 U.S.C. § 2518(1)(c)). This statutory

requirement is designed “to ensure that a wiretap ‘is not resorted to in a situation where

traditional investigative techniques will suffice to expose the crime.’” Alfano, 838 F.2d at 163

(quoting United States v. Kahn, 415 U.S. 143, 152 n.12, 94 S. Ct. 977, 39 L. Ed. 2d 225 (1974)).

The Sixth Circuit has defined the relevant standard for assessing the adequacy of the “needs

statement” in an application as follows:

       Wiretaps are not to be used thoughtlessly or in a dragnet fashion. As our court
       has said, what is needed is to show that wiretaps are not being routinely employed
       as the initial step in criminal investigations. However, the government is not
       required to provide that every other conceivable method has been tried and failed
       or that all avenues of investigation have been exhausted.

United States v. Giacalone, 853 F.2d 470, 480 (6th Cir.1988) (quoting Alfano, 838 F.2d at 163)

(internal citations and quotations omitted) (emphasis added). Indeed, “the burden of showing

necessity is not a heavy one.” United States v. Rice, 478 F.3d 704, 716 (6th Cir. 2007). A

wiretap need not be used only as a last resort. Landmesser, 553 F.2d at 20. Thus:


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       All that is required is that the investigators give serious consideration to the non-
       wiretap techniques prior to applying for wiretap authority and that the court be
       informed of the reasons for the investigators’ belief that such non-wiretap
       techniques have been or will likely be inadequate.

Giacalone, 853 F.2d at 480 (quoting Alfano, 838 F.2d at 163-64). At the same time, “[w]hile the

prior experience of investigative officers is indeed relevant in determining whether other

investigative procedures are unlikely to succeed if tried, a purely conclusory affidavit unrelated

to the instant case and not showing any factual relations to the circumstances at hand would be

inadequate compliance with the statute.” Rice, 478 F.3d at 710 (quoting Landmesser, 552 F.2d

at 20). In determining whether an application meets the necessity requirement, a “reasonable

statement of the consideration or use of other investigative means is adequate.” Alfano, 838 F.2d

at 164. The court must evaluate the showing “in a practical and common sense fashion.”

Landmesser, 553 F.2d at 19-20.

       Here, the government plainly made the requisite showing to the Issuing Judge. The

government had actively investigated Travis Gentry and the Gentry DTO for at least six months

before filing its First Application for a wiretap. During that time period, the government utilized

a host of traditional investigative techniques, including physical and remote video surveillance,

controlled drug purchases, pen register and telephone toll record analysis, the development of

two confidential sources, consensually recorded telephone calls, the use of a tracking device to

attempt to track Travis Gentry’s movements, and financial investigations. Subsequent affidavits

provided updates concerning the progress of the investigation and the continuing use of many of

these investigative techniques, to the extent such techniques were feasible. Contrary to the

defendants’ contention, these facts demonstrate that the wiretap applications plainly did not

constitute the “initial step” in the government’s investigation into Travis Gentry and the Gentry


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DTO. Instead, they reflected the culmination of months of coordinated efforts by law

enforcement officers to investigate Travis Gentry and the Gentry DTO using various traditional

investigative techniques.

        All of the affidavits also substantially explained the limitations accompanying the

traditional investigative techniques that the government had already utilized. For instance, the

First Affidavit provides case-specific information concerning the challenges involved in

investigating Travis Gentry and the Gentry DTO, such as: (1) the limitations on physical and

remote surveillance due to the location of Travis Gentry’s house on a one-lane road in a rural

area monitored by family members, the manner in which Travis Gentry conducted clandestine

drug transactions, and his efforts to conduct counter-surveillance; (2) the limits on actionable

information recoverable from pen registers and toll records due to Travis Gentry’s use of a

prepaid telephone lacking any subscriber information and his frequent switching of telephones;

(3) the inability of confidential sources to provide information concerning the upper end of the

Gentry DTO hierarchy and to conduct effective consensually recorded telephone calls, due to

their lower position in the organization, as well as their fear of reprisal; (4) the inability of a

tracking device to function effectively due to the remote location of Travis Gentry’s residence;

and (5) the limitations on the financial investigation, once it was discovered that Travis Gentry

did not have a bank account and conducted most transactions in cash. The affidavits attached to

subsequent wiretap applications similarly provide sufficient detail concerning the limitations of

these and other traditional investigative techniques. See Wolcott, 2012 WL 2086944, at *3-*4

(finding that necessity requirement was met, where, inter alia, (a) confidential informant was

only a low-level participant in criminal operation and (b) physical surveillance was likely



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inadequate, because potential targets lived in rural areas with limited traffic, thereby creating a

risk of detection, and law enforcement had been unable to identify addresses of suspected

leaders).

       The First Affidavit and subsequent affidavits also demonstrate that the government gave

“serious consideration” to other investigative techniques that were considered, but not employed.

The issuing court may rely on the reasoned judgments of an appropriately experienced affiant

that employing certain investigative techniques, including grand jury subpoenas, the issuance of

search warrants, undercover agents, witness interviews, and trash searches, risk compromising

the entire investigation by tipping off the subjects of the potential investigation and/or would not

generate the information sought. See, e.g., United States v. Haque, 315 F. App’x 510, 518 (6th

Cir. 2009) (upholding wiretap, where authorities utilized confidential informants, pen registers,

trap and trace techniques, and physical surveillance, but did not utilize undercover agents or a

grand jury investigation because those methods were “unlikely to uncover the information the

FBI was after and, moreover, risked tipping off the targets to the investigation”); United States v.

Walkup, No. 1:09-CR-00026-R, 2010 WL 4778788, *1-*4 (W.D. Ky. Nov. 16, 2010); United

States v. Hawk, No. 3:05CR-151-S, at *1-*5 (W.D. Ky. Oct. 22, 2007); United States v. Kelley,

596 F. Supp. 2d 1132, 1143-48 (E.D. Tenn. 2009); United States v. Hazelwood, No. 1:10 CR

150, 2011 WL 2553265, at *5-*9 (N.D. Ohio June 28, 2011). Here, in support of the First

Affidavit, TFO Goodman drew on his knowledge and prior investigative experience in

explaining why these alternative techniques were unlikely to be effective in the context of the

investigation, including case-specific information, such as the difficulty that would be inherent in

attempting to place an undercover agent into the Gentry DTO, a tight-knit organization that



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included various family members. In the subsequent affidavits, TFO Goodman provided

similarly detailed information, based on his knowledge and experience and case-specific

information, as to the limits on these investigative techniques.15

       In support of their Motion to Suppress, the defendants appear to argue that the

government was essentially required to exhaust all traditional methods of investigation prior to

seeking authorization to conduct a wiretap. However, under established Sixth Circuit precedent,

the government’s burden is not so extreme, see Giacalone, 853 F.2d at 480 (“[T]he government

is not required to provide that every other conceivable method has been tried and failed or that

all avenues of investigation have been exhausted.”) (quoting Alfano, 838 F.2d at 163), and the

court must accord “great deference” to the Issuing Judge’s determination concerning necessity.

See Corrado, 227 F.3d at 539-40; see also Wolcott, 2012 WL 2086944, at *3 (“[T]he

government ‘need not prove the impossibility of other means of obtaining information,’ and,

relatedly, ‘the mere fact that some investigative techniques were successful in uncovering

evidence of wrongdoing does not mandate that a court negate the need for wiretap

surveillance.’”) (quoting Stewart, 306 F.3d at 305).

       Accordingly, under the applicable legal standard and showing the requisite “great

deference” to the Issuing Judge’s determination, the court finds that the Issuing Judge was

presented with a substantial showing of necessity in connection with all of the government’s

wiretap applications.

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         Indeed, subsequent events confirmed many of TFO Goodman’s initial beliefs, as
expressed in the First Affidavit, regarding the limitations on certain investigative techniques with
respect to Travis Gentry and the Gentry DTO. For example, McCutcheon and Spencer Randolph
became aware of law enforcement’s surveillance efforts, multiple target subjects arrested for
drug offenses (including Gentry himself) failed to cooperate with law enforcement, and a trash
search at Channing Randolph’s residence failed to yield any incriminating evidence.

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       D.      Probable Cause

               1.      Applicable Legal Standard

       To establish probable cause for a wiretap, the issuing judge must determine whether the

facts alleged in the application create probable cause to believe that: (1) an individual has

committed, is committing, or is about to commit the offense charged; (2) communications

concerning the offense will be obtained through the requested surveillance; and (3) the location

of the electronic surveillance has been used, is being used, or will be used in the commission of

the offense, or is leased to, listed in the name of, or commonly used by the individual suspected

of committing the offense. Giacalone, 853 F.2d at 478 (citing 18 U.S.C. §§ 2518(3)(a), (b), and

(d)). In determining whether the evidence supporting a wiretap warrant meets this probable

cause standard, “there is no specific formula that must be met . . . , and . . . evidence must be

judged on the totality of the circumstances and in a reasonable and common sense manner.”

Giacalone, 838 F.2d at 478 (quoting Alfano, 838 F.2d at 161) (internal citation omitted). The

question that must be decided in issuing a warrant is whether there is probable cause to believe

that a crime will be uncovered. Id. “Under this standard, certainty is not required at this stage,

and the exact quantum of support required has frequently been described as ‘a fair probability,’

but more than a ‘mere suspicion’ that such evidence will be discovered.” Id. Accordingly,

“[f]acts can amount to a fair probability without being proof beyond a reasonable doubt or even a

prima facie showing.” Id. Thus, “the preference for warrants is most appropriately effectuated

by according ‘great deference’ to a magistrate’s determination . . . . [A] magistrate’s

determination on the question of probable cause will not be reversed if the record contains a

‘substantial basis for his probable cause findings.’” Giacalone, 853 F.2d at 479 (internal



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citations omitted) (quoting Alfano, 838 F.2d at 162); see also United States v. Archibald, --- F.3d

---, 2012 WL 2816702, at *2 (6th Cir. July 11, 2012) (submitted for publication).

       Here, the defendants contend that the affidavits provided in support of each wiretap

application failed to establish probable cause. In particular, the defendants argue that the

affidavits were “bare bones” affidavits, that the affidavits fail to link Betty Gentry and Smith to

the alleged criminal activity described in the affidavits, and/or that the affidavits contained

information from confidential sources whose credibility and veracity were not shown.

               2.      Substance of the Affidavits

       As an initial matter, the affidavits at issue here were plainly not “bare bones” affidavits.

“An affidavit that states suspicions, beliefs, or conclusions, without providing some underlying

factual circumstances regarding veracity, reliability, and basis of knowledge is a ‘bare bones’

affidavit.” United States v. Weaver, 99 F.3d 1372, 1378 (6th Cir. 1996). Here, as detailed

herein, each affidavit provides detailed information concerning, inter alia: TFO Goodman’s

extensive local background and experience concerning drug trafficking; facts gleaned from

demonstrably reliable confidential sources (see infra); excerpts from consensually recorded and

monitored telephone calls and text messages involving Travis Gentry or suspected members of

the Gentry DTO; descriptions of physical and remote surveillance efforts; the (unsuccessful)

attempt to utilize a tracking device on one of Travis Gentry’s vehicles; the results of pen register

and toll analyses, including contacts between the target telephone(s) and numbers belonging to

suspected members or associates of the Gentry DTO and/or individuals convicted of or suspected

of drug trafficking activities; the substance of multiple actual or attempted controlled drug

purchases; the (limited) information gleaned from a pole camera directed at Spencer Randolph’s

residence; and, as to affidavits after the First Affidavit, excerpted conversations from intercepted

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phone calls. Furthermore, the First Affidavit and all subsequent affidavits provide specific

details concerning how Travis Gentry and other members of the Gentry DTO had sought to limit

potential law enforcement investigatory efforts. For example, the First Affidavit details how

Travis Gentry frustrated investigatory efforts through counter-surveillance and frequently

switching phones, vehicles, and residences (from hotel to hotel). Thus, the affidavits clearly

provided the Issuing Judge with more than just TFO Goodman’s “beliefs and conclusions”; to

the contrary, the affidavits contain substantial case-specific information upon which TFO

Goodman reasonably based his beliefs and conclusions.

       As to the defendants’ conclusory argument that the affidavits fail to link Betty Gentry

and Smith to the alleged criminal activity, that contention both misconstrues the applicable legal

standard and, in any case, is without merit. First, the affidavits sought to tap the phones of

Travis Gentry and Kejuana McCutcheon, not Betty Gentry or Smith. The burden was on the

government only to show to the Issuing Judge that, inter alia, the target telephones utilized by

Travis Gentry and McCutcheon had been used, were being used, or would be used in the

commission of the alleged offenses, or were leased to, listed in the name of, or commonly used

by “the individual[s] suspected of the offense,” see Giacalone, 853 F.2d at 478 (citing 18 U.S.C.

§§ 2518(3)(a), (b), and (d)) (emphasis added) – in this case, Travis Gentry and McCutcheon.

Indeed, the affidavits contained substantial information regarding drug trafficking activities by

Travis Gentry and McCutcheon, whose phones the investigators were seeking to wiretap, thereby

providing a substantial basis for the Issuing Judge to have determined that probable cause was

established for each wiretap application. Thus, regardless of its merits, the defendants’ argument

that the affidavits did not sufficiently link Betty Gentry and Smith to the Gentry DTO is

essentially irrelevant to whether there was probable cause for each wiretap.

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       At any rate, even if this consideration were relevant, the affidavits did provide sufficient

evidence to establish probable cause that Betty Gentry and Pat Smith had engaged in drug

trafficking activities subject to the investigation. With respect to Betty Gentry, the First

Affidavit articulates information from CS-2, a reliable confidential source (see infra), concerning

Betty Gentry’s role in assisting Travis Gentry in his drug trafficking activities. The affidavit

provides evidence that Betty Gentry knowingly permitted Travis Gentry to utilize her residence

for drug trafficking activities, including the storage of weapons, cocaine, and drug proceeds.

Furthermore, the affidavit provides evidence that Betty Gentry was present with Travis Gentry

when cocaine shipments were opened at her residence and broken down into smaller packages

for distribution. These allegations link Betty Gentry directly to drug trafficking activity by

Travis Gentry, who used the telephone subject to the First Application. (See First Affidavit ¶¶

24-25.) With respect to Smith, who was not listed as an investigatory target until the Second

Application – i.e., following the initial wiretap of TT1 – the Second Affidavit contains evidence

(provided by CS-2) describing Pat Smith’s roles as a drug purchaser and supplier of cocaine to

Travis Gentry. Specifically, the Second Affidavit states that Smith planned to use one of Travis

Gentry’s vehicles with a hidden compartment to obtain cocaine for Travis Gentry, that Smith

operated as an alternative source of supply of cocaine to the Gentry DTO, and that Smith often

provided cocaine to Travis Gentry to break down into crack cocaine. (Second Affidavit ¶ 33.)16

               3.      Reliance on Confidential Sources



       16
          The defendants also contend, in conclusory fashion, that the affidavits failed to link
unspecified “other” defendants to drug-related criminal activity. To the contrary, the First
Affidavit contained substantial information linking multiple individuals to drug trafficking
activity, and, as the investigation progressed, the affidavits provided evidence linking additional
target subjects to the drug trafficking activities under investigation.

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                       a.      Applicable Legal Standard

       The defendants argue that it was improper for the Issuing Judge to rely on any

information provided by CS-1 and CS-2 in making a probable cause determination. The

defendants’ argument focuses on information contained within the First Affidavit only. (Docket

No. 863 at p. 60.)

       Before issuing a warrant based on hearsay information provided by confidential sources,

the issuing judge must have evidence that establishes the veracity, reliability and basis of

knowledge of those sources. Archibald, 2012 WL 2816702, at *3; United States v. Williams,

224 F.3d 530, 532 (6th Cir. 2000). Where, as here, a warrant affidavit provides no indicia of an

informant’s previous reliability, the affidavit must contain substantial independent corroborating

information. Archibald, 2012 WL 2816702, at *3 (“[E]ven an affidavit that supplies little

information concerning an informant’s reliability may support a finding of probable cause, if it

includes sufficient corroborating information”) (quoting United States v. Coffee, 434 F.3d 887,

893 (6th Cir. 2004)); United States v. Frazier, 423 F.3d 526, 532 (6th Cir. 2005); see also United

States v. Lawson, No. 10-4256, 2012 WL 806393, at *2 (6th Cir. Mar. 13, 2012) (not submitted

for publication) (to establish probable cause, “police may rely on information from confidential

informants, if ‘sufficiently detailed and corroborated by the independent investigation of law

enforcement officers”) (quoting United States v. Lumpkin, 159 F.3d 983, 986 (6th Cir. 1998));

United States v. Patrick, No. 1:08-CR-130, 2009 WL 1766259, at *3-*4 (E.D. Tenn. June 23,

2009) (applying Frazier standard to review of wiretap application). Furthermore, “an ‘explicit

and detailed description of alleged wrongdoing, along with a statement that the event was

observed firsthand, entitles [the informant’s tip] to greater weight than might otherwise by the

case.’” Archibald, 2012 WL 2816702, at *3 (quoting Weaver, 99 F.3d at 1377). The affidavit

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“should be judged on the adequacy of what it does contain, not on what it lacks, or on what a

critic might say should have been added.” United States v. Allen, 211 F.3d 970, 975 (6th Cir.

2000).

         Independent police corroboration can take many forms. For instance, a single police-

monitored controlled purchase of drugs by the informant provides sufficient independent

corroboration of an informant’s reliability. Archibald, 2012 WL 2816702, at *3 (finding that

officer’s affidavit supported probable cause finding, “even after only one controlled buy”);

United States v. Coffee, 434 F.3d 887, 891-96 (6th Cir. 2006) (finding that probable cause was

established, where informant conducted a single controlled purchase of drugs from alleged drug

distributor subject to warrant application); United States v. Gunter, 266 F. App’x 415, 417-418

(6th Cir. 2008) (finding that the reliability of an informant was established, where informant

conducted two controlled drug purchases from alleged drug distributor, because, “[i]f one such

purchase was sufficient to corroborate an informant’s statements in Coffee, then two purchases

will more than suffice in the instant case”); United States v. Jackson, 470 F.3d 299, 307-08 (6th

Cir. 2006) (controlled purchase of drugs by unnamed confidential source demonstrated reliability

of informant, and, therefore, the “magistrate’s finding of probable cause was based on the

affiant’s personal knowledge and observations, rather than hearsay of the informant.”)

         Similarly, where an informant provides information that is consistent with information

already independently known to the affiant, or where subsequent investigation confirms the

information provided by the informant, the reliability of the informant may be established. See

United States v. Tuttle, 200 F.3d 892, 894 (6th Cir. 2000) (finding that reliability of informant

was independently corroborated, where informant’s tip that defendant was utilizing stolen parts

at auto shop was consistent with information already independently known to law enforcement);

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United States v. McNally, 327 F. App’x 554, 557-78 (6th Cir. 2009) (where informant alleged

that defendant was involved in child pornography, independent corroboration of informant’s

reliability was established where investigator independently verified the alleged residential and

business addresses of the defendant, his alleged employer, and the alleged existence of

restraining order against him in favor of the informant).

       Here, the First Affidavit provided substantial evidence of independent corroboration of

information provided by both CS-1 and CS-2, sufficient to support the Issuing Judge’s reliance

on information provided by CS-1 and CS-2 in making a probable cause finding..

                       b.      CS-1

       The First Affidavit indicated that, after CS-1 claimed to have received a call from Travis

Gentry on December 2, 2009 related to drug trafficking, law enforcement officers independently

verified through telephone toll records that CS-1's phone had in fact received a call from Travis

Gentry’s cell phone on that date. Following that call, CS-1 informed investigators that Travis

Gentry would be supplying him with a cocaine sample later that day in the hope that it would

assist CS-1 in locating a buyer for larger amounts of cocaine. As independently confirmed by an

audio recording, CS-1 in fact met with Travis Gentry, the two discussed drug trafficking, and

Travis Gentry provided CS-1 with a cocaine sample, which a DEA lab analysis confirmed was

nearly pure cocaine. Furthermore, at the direction of law enforcement, CS-1 engaged in two

controlled purchases of cocaine from Travis Gentry. The affidavit describes how many of the

calls placed by CS-1 to Travis Gentry to set up these purchases were either monitored by law

enforcement, consensually recorded, or independently verified. Law enforcement officers also

conducted surveillance at each of the pre-arranged meet locations between CS-1 and Travis

Gentry, and later lab testing confirmed that Travis Gentry had indeed sold cocaine to CS-1 on

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these occasions. Even these two controlled purchases, standing alone, were sufficient to

establish CS-1's reliability. Gunter, 266 F. App’x at 417-418. At any rate, the various examples

of police corroboration of CS-1's reliability, including the controlled drug purchases, were

sufficient to support reliance by the Issuing Judge on information provided by CS-1 in reaching a

probable cause determination.

                       c.      CS-2

       The First Affidavit overwhelmingly demonstrated CS-2's veracity, reliability, and basis

of knowledge. First, the affidavit contains numerous examples in which investigators

independently corroborated new information provided by CS-2. For example, after CS-2

informed investigators that Spencer Randolph was receiving cocaine shipments under fictitious

names, investigators confirmed that the USPS had in fact delivered parcels to Spencer

Randolph’s residence under the fictitious names “Randall Spencer” and “Spencer Randall.”

Investigators also utilized pen register data and/or physical surveillance to confirm CS-2's

representations that Travis Gentry was utilizing TT1 to speak with him. Similarly, after CS-2

had claimed that Travis Gentry had utilized TT1 to call Frank Randolph to inform him that he

(Travis Gentry) was on his way to pick up $5,000, pen register data reflected that phone call and

physical surveillance confirmed that Travis Gentry in fact visited Frank Randolph’s residence

that day. Similarly, after CS-2 had advised investigators that Travis Gentry was on his way to

Spencer Randolph’s residence to pick up controlled substances, surveillance confirmed that

Travis Gentry in fact visited that residence on those dates. Telephone records also confirmed

CS-2's tips that Travis Gentry began utilizing TT1 on approximately February 15, 2010, and that

a convicted drug trafficker had been calling Travis Gentry on a daily basis.



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       Second, the First Affidavit also recites instances in which CS-2 provided information that

was independently consistent with information already known to law enforcement. For example,

CS-2 informed investigators that Travis Gentry hides the proceeds of his narcotics sales at the

home of Frank Randolph. This information was already known to TFO Goodman, as a local

investigator had also informed him that Frank Randolph holds drug proceeds at his residence for

Travis Gentry.

       Third, CS-2 also provided information based on personal knowledge, as opposed to mere

hearsay. For instance, CS-2 stated that he personally observed and/or participated in drug

trafficking activities involving Travis Gentry and the Gentry DTO. For example, CS-2 claimed

that he (1) met “G,” a California-based cocaine supplier to Travis Gentry, on numerous

occasions and supplied a telephone to “G” at Gentry’s request; (2) distributed cocaine for Travis

Gentry; (3) met Travis Gentry at a motel in Alabama, where Travis Gentry provided him with

marijuana that they both smoked together; (4) saw the phone number of an individual believed to

be a member of the Gentry DTO appear on the caller identification feature of Travis Gentry’s

cell phone; and (4) contacted Brandon Matthews, an alternative drug distributor for Travis

Gentry, when he was unable to reach Travis Gentry. These and other detailed observations of

alleged wrongdoing were based on CS-2's personal knowledge, which is entitled “to greater

weight than might otherwise be the case,” Archibald, 2012 WL 2816702, at *3.

       Taken collectively, the First Affidavit provided ample indicia of CS-2's reliability,

veracity, and basis of knowledge.

       Thus, under the totality of the circumstances, and showing the requisite deference to the

Issuing Judge’s determination, the court finds that the First Affidavit provided more than

sufficient evidence to the Issuing Judge to establish the veracity, reliability, and bases of

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knowledge of CS-1 and CS-2. Therefore, the Issuing Judge reasonably relied upon information

provided by CS-1 and CS-2 in reaching a determination that the First Affidavit and subsequent

affidavits established probable cause for the requested wiretaps.

       In sum, having determined that the affidavits established the requisite showing of

necessity and probable cause, the court will not suppress evidence gleaned from the wiretaps.

                                          CONCLUSION

       For the reasons stated herein, the Motion to Suppress will be denied.

       An appropriate order will enter.

                                                     _______________________________
                                                     ALETA A. TRAUGER
                                                     United States District Judge




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